                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


Angela Pieper, et al.                            :
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                                                 :
       v.                                        :   Civil No. CCB-15-2457
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The United States of America                     :
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                                       MEMORANDUM

       The plaintiffs, on behalf of themselves and others similarly situated, sue the United States

under the Federal Tort Claims Act (“FTCA”) for negligence involving its waste disposal and

remediation practices at Fort Detrick. The United States filed a motion to dismiss for lack for

subject matter jurisdiction on the grounds that the plaintiffs’ claims fall within the FTCA’s

discretionary function exception (“DFE”). For the reasons stated below, the motion to dismiss

will be granted.

                                        BACKGROUND

       The plaintiffs allege environmental contamination and associated personal injuries caused

by “the United States’ historical use and disposal of chemicals and other contaminants at, and

failure to adequately and timely prevent, abate, and remediate the contamination and threatened

migration of such hazardous substances from, Fort Detrick.” (Am. Compl. ¶ 20, ECF No. 13.)

The three classes of plaintiffs are representatives of people who died from toxic exposure, people

who have suffered from personal injuries as a result of their exposure to contaminants, and

people who fear developing diseases from exposure. (Id. at ¶ 22.) The plaintiffs’ claims arise out

of the Army’s disposal of trichloroethylene (“TCE”), tetrachloroethylene (“PCE”), and other


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substances at Fort Detrick’s B-11 landfill and the remediation of the groundwater under Area B.

(Id. at ¶¶ 50-97.)

        During World War II, Fort Detrick was the center of the United States’ biological warfare

program. (Curtis Decl. ¶ 8, Mot. Dismiss Ex. 1, ECF No. 20-4.) That program stopped in 1969

when President Richard Nixon issued a United States policy renouncing offensive biological

warfare and directing the Department of Defense (“DoD”) to dispose of existing biological

warfare weapons and to confine research to defensive initiatives. (Id. at ¶ 10.)

        The Army used TCE and PCE as part of its biological warfare program at Fort Detrick.

(Id. at ¶ 13.) From 1955 until 1970, the Army disposed of various chemicals, including TCE and

PCE, in Area B-11 by burying them in unlined pits, which was the standard disposal practice at

the time. (Id. at ¶¶ 11, 14, 16-17; Ford Report 30, Mot. Dismiss Ex. 4, ECF No. 20-7.) The Army

stopped disposing of hazardous chemicals in Area B-11 in the early 1970s. (Curtis Decl. ¶¶ 15-

18.)

        In 1975, the DoD began investigating and remediating environmental contamination at

military installations under the Installation Restoration Program (“IRP”). (2000 Annual Report 2,

Mot. Dismiss Ex. 18, ECF No. 20-21; Contamination Assessment 1, Mot. Dismiss. Ex. 27-1,

ECF No. 20-38.) That same year, the Army began publishing Army Regulation 200-1, on

Environmental Protection and Enhancement, which “provide[d] general guidance to elements

within the Department of the Army on environmental protection” and “prescrib[ed] policies,

responsibilities, and procedures for the protection and preservation of environmental quality for

the Department of the Army in peacetime.” (Army Regulation 200-1 (1975), Mot. Dismiss Ex.

26-1, ECF No. 20-32.)



                                                 2
       In 1980, Congress passed the Comprehensive Environmental Response, Compensation,

and Liability Act (“CERCLA”), which “require[d] responsible parties to clean up releases of

hazardous substances to the environment.” (2000 Annual Report 2.) In 1986, the Superfund

Amendments and Reauthorization Act (“SARA”) expanded CERCLA and established the

Defense Environmental Restoration Program (“DERP”) to address the release of hazardous

substances at DoD facilities, and IRP became a part of that program. (2007 Annual Report 9,

Mot. Dismiss Ex. 19, ECF No. 20-22.) The amendments were accompanied by a CERCLA

regulation that clarified that the federal government’s responses to environmental hazards were

“discretionary governmental functions” and that CERCLA did not “create any duty of the federal

government to take any response action at any particular time.” 40 C.F.R. § 300.400(i)(3)

(originally found at 40 C.F.R. § 300.61(e)(3) (1986)).

       The Army first installed monitoring wells to characterize groundwater conditions near the

Area B disposal areas in 1974. (Area B Groundwater Remedial Investigation Work Plan §

2.7.1.1, Mot. Dismiss Ex. 14, ECF No. 20-17.) In 1981, a Task Report to the Environmental

Protection Agency (“EPA”) reported that Fort Detrick was installing a monitoring well network

“to determine if any toxic materials are migrating.” (Task Report 5, Mot. Dismiss Ex. 3, ECF

No. 20-6.) The Task Report recommended that the State of Maryland and the EPA continue to

monitor the Army’s investigations and that the Army “should” initiate a remedial action program

“[i]f these investigations indicate potential hazards.” (Id.)

       Around 1991, monitoring wells detected TCE contamination at Area B, prompting an

environmental restoration effort that continues to this day. (Gortva Decl. ¶ 7, Mot. Dismiss Ex. 5,

ECF No. 20-8.) In 1992, the Maryland Department of the Environment sampled 21 offsite



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residential wells near Fort Detrick and detected TCE above the maximum contaminant level in

four of those wells. (Federal Facility Agreement § 6.10, Mot. Dismiss Ex. 15, ECF No. 20-18.)

The Army immediately supplied residents with an alternative water source. (Gortva Decl. ¶ 11;

Public Health Assessment 1, Mot. Dismiss Ex. 22, ECF No. 20-28.)

       In 1997, the Army confirmed that TCE and PCE had contaminated groundwater under

neighboring land. (Gortva Decl. ¶ 19.) The Army determined that the “best removal action to

protect human health and the environment” was to address the contamination by “remov[ing] the

primary source of the groundwater contamination in Area B, thereby preventing future releases.”

(2000 Area B-11 Decision Document § 1.4, Mot. Dismiss Ex. 9, ECF No. 20-12.) The “primary

source” of contamination was the waste disposal pits in Area B-11. (Id. at § 1.3.) The Army

conducted a $25 million interim removal action, which successfully reduced TCE and PCE

concentrations in Area B groundwater. (Gortva Decl. at ¶¶ 25-26; see also Remedial

Investigation § 4.2.1, Mot. Dismiss Ex. 10, ECF No. 20-13.)

       After the interim removal action, the Army decided against further intrusive activities in

the waste disposal pits because of complex safety requirements and the expense of further

excavation and disposal, which it estimated at nearly one billion dollars. (2009 Decision

Document § 2.10.7, Mot. Dismiss Ex. 13, ECF No. 20-16; Federal Facility Agreement § 6.11.) In

2008, the Army decided to install protective caps as a containment measure. (Remedial

Investigation/Feasibility Study § 1.0, Mot. Dismiss Ex. 12, ECF No. 20-15; 2009 Decision

Document § 1.4.) The caps cost the Army $5.5 million, which the Army found “represents a

reasonable value” because the caps provide a “significant increase in protection of human health

and the environment.” (2009 Decision Document § 2.13.3.)



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        In 2009, the EPA added Area B Groundwater to the National Priorities List, which means

the EPA, instead of the Maryland Department of the Environment, has acted as the lead regulator

of Area B since then. (Gortva Decl. ¶¶ 34-35; Federal Facility Agreement § 6.18.) In December

2010, the Army and the EPA completed negotiations on the Fort Detrick Federal Facility

Agreement, which outlines their respective responsibilities and allows the Army to continue its

ongoing remedial investigation of Area B. (Gortva Decl. ¶¶ 38-39; Federal Facility Agreement §

9.1.)

                                            ANALYSIS

        A motion pursuant to Federal Rule of Civil Procedure 12(b)(1) should be granted “only if

the material jurisdictional facts are not in dispute and the moving party is entitled to prevail as a

matter of law.” Evans v. B.F. Perkins Co., 166 F.3d 642, 647 (4th Cir. 1999); see also United

States ex rel. Vuyyuru v. Jadhav, 555 F.3d 337, 347-48 (4th Cir. 2009). The plaintiff bears the

burden of proving that subject matter jurisdiction exists. Piney Run Preservation Ass’n v. Cnty.

Comm’rs of Carroll Cnty., Md., 523 F.3d 453, 459 (4th Cir. 2008). Moreover, “[w]hen a

defendant challenges subject matter jurisdiction via a Rule 12(b)(1) motion to dismiss, the

district court may regard the pleadings as mere evidence on the issue and may consider evidence

outside the pleadings . . . .” Blitz v. Napolitano, 700 F.3d 733, 736 n.3 (4th Cir. 2012) (quoting

Velasco v. Gov’t of Indonesia, 370 F.3d 392, 398 (4th Cir. 2004)).

        The plaintiffs bring this lawsuit under the FTCA, which constitutes a “limited waiver” of

the United States’ sovereign immunity. Molzof v. United States, 502 U.S. 301, 305 (1992). The

FTCA makes the federal government liable for tort claims “in the same manner and to the same

extent as a private individual under like circumstances[.]” 28 U.S.C. § 2674. But this waiver is



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“subject to several exceptions.” Suter v. United States, 441 F.3d 306, 310 (4th Cir. 2006). One of

these exceptions is the discretionary function exception (“DFE”), under which the United States

is not liable for “[a]ny claim . . . based upon the exercise or performance or the failure to exercise

or perform a discretionary function or duty on the part of a federal agency or an employee of the

Government, whether or not the discretion involved be abused.” 28 U.S.C. § 2680(a). The

plaintiffs “bear the burden of proving that the discretionary function exception does not apply” to

the United States’ conduct. Indem. Ins. Co. of N. Am. v. United States, 569 F.3d 175, 180 (4th

Cir. 2009).

       The DFE analysis proceeds in two steps. First, a court must determine “whether the

challenged conduct ‘involves an element of judgment or choice.’” Suter, 441 F.3d at 310

(quoting Berkovitz v. United States, 486 U.S. 531, 536 (1988)). No such discretion exists when

“‘a federal statute, regulation, or policy specifically prescribes a course of action for an employee

to follow.’” Indem. Ins. Co., 569 F.3d at 180 (quoting Berkovitz, 486 U.S. at 536). Second, even

if the challenged conduct involves an element of judgment, a court must determine “‘whether

that judgment is of the kind that the discretionary function exception was designed to shield,’

i.e., whether the challenged action is ‘based on considerations of public policy.’” Suter, 441 F.3d

at 311 (quoting Berkovitz, 486 U.S. at 536-37). This inquiry focuses “not on the agent’s

subjective intent in exercising the discretion . . . , but on the nature of the actions taken and on

whether they are susceptible to policy analysis.” United States v. Gaubert, 499 U.S. 315, 325

(1991). In other words, a court “look[s] to the nature of the challenged decision in an objective,

or general sense, and ask[s] whether that decision is one which we would expect inherently to be

grounded in considerations of policy.” Baum v. United States, 986 F.2d 716, 721 (4th Cir. 1993).



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A government agent’s acts are presumed to be “grounded in policy” when that agent uses

discretion provided by statute, regulation, or agency guideline. Gaubert, 499 U.S. at 324.

Accordingly, if the plaintiffs have shown that the Army either (1) lacked discretion regarding its

waste management practices or (2) made waste management decisions of the kind that were not

susceptible to policy analysis, then the DFE does not apply, the United States has waived

sovereign immunity, and this court has subject matter jurisdiction.

       The plaintiffs acknowledge that this case is “very similar factually” to Waverley View

Inv’rs, LLC v. United States, 79 F. Supp. 3d 563 (D. Md. 2015), in which this court held it lacked

subject matter jurisdiction because the plaintiff did not carry its burden of proving the United

States’ waste management decisions at Fort Detrick fell outside the DFE. (Pls.’ Opp’n 1, ECF

No. 24.) They claim this case is distinguishable from Waverley because they have cited “certain

documents and directives that were not raised by the plaintiff in [Waverley] nor considered by

this Court, which would free these Plaintiffs from . . . immunity[.]” (Id.) They “would not be

opposing this Motion if there were not additional compelling facts for consideration.” (Id. at 2.)

None of the provisions the plaintiffs cite, however, demonstrate that the decisions of the United

States regarding its waste disposal or remediation practices in Area B fall outside the DFE.

       I.      Discretionary Nature

               A. Executive Orders 11507 and 11752

       The plaintiffs argue that President Nixon’s Executive Order 11507 and Executive Order

11752 were mandatory directives not previously considered by the court. Contrary to the

plaintiffs’ contention, this court did consider Executive Order 11507 in Waverley and found its

provisions were closer to “statements of policy goals” than directives and that it was not



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sufficiently specific to bind the Army. See Waverley, 79 F. Supp. 3d at 570 n.6, 570-71. The

plaintiffs concede that Executive Order 11752 is “essentially the same” as Executive Order

11507. (Pls.’ Opp’n 11.)

        The executive orders did not remove the Army’s discretion. Although the plaintiffs point

to some provisions in Executive Order 11507 that contain seemingly mandatory language such

as “shall,” these provisions, when read in context, are not mandatory. For example, Section 4 of

Executive Order 11507, which the plaintiffs cite, states that “[t]he use of municipal or regional

waste collection or disposal systems shall be the preferred method of disposal of wastes from

Federal facilities,” but when use of such a system is “not feasible or appropriate, the heads of

agencies concerned shall take necessary measures,” including “[w]hen appropriate, the

installation and operation of their own waste treatment and disposal facilities,” “[t]he provision

of trained manpower, laboratory and other supporting facilities as appropriate,” and “[w]hen

appropriate, preventive measures shall be taken to entrap spillage or discharge or otherwise to

prevent accidental pollution.” Exec. Order No. 11507 § 4, 35 Fed. Reg. 2573 (Feb. 4, 1970)

(emphasis added). Additionally, the plaintiffs note that where no water quality standards are in

force or where more stringent requirements are “deemed advisable for Federal facilities, the

respective Secretary . . . may issue regulations establishing . . . water quality standards[.]” Id. at §

4(6)(b) (emphasis added).

        Even provisions that seem mandatory on their face may not be sufficiently specific to

bind the Army to a course of conduct. To prove the Army lacked discretion, the plaintiffs must

point to a directive that gave the United States “specified instructions that it [wa]s compelled to

follow.” Williams v. United States, 50 F.3d 299, 309 (4th Cir. 1995) (emphasis added). The



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plaintiffs argue that the provision stating that “[t]he use, storage, and handling of all materials,

including . . . chemical and biological agents, shall be carried out so as to avoid or minimize the

possibilities for water and air pollution” is a mandatory order that left no discretion to the Army.

See Exec. Order No. 11507 § 4(4). But that provision, like the other provisions in the executive

orders, does not “specifically prescribe[ ] a course of action for [the Army] to follow” in its

waste management procedures. Berkovitz, 486 U.S. at 536. Therefore, the executive orders are

“far too general to serve as . . . mandatory regulation[s]” for purposes of the DFE. See Baum, 986

F.2d at 722 n.2.

               B. Fort Detrick Regulation 385-1

       The plaintiffs argue that Fort Detrick Regulation 385-1 (“FD Reg. 385-1”) contained

mandatory and specific regulations, but the regulation is not mandatory or sufficiently specific to

bind the Army. For example, the section concerning treatment of contaminated air fails to

specify how air will be treated, only providing that “[a]ir from buildings and safety cabinets in

which infectious materials are handled will be treated in a manner approved by IH & Safety.”

(FD Reg. 385-1 at Part A.V.3.b, ECF No. 26 (emphasis added)). The subsection concerning the

handling and disposal of refuse is not mandatory, as the first two paragraphs begin with “when

size permits,” and another paragraph begins with “[a]s a general policy matter.” (Id. at Part

A.V.5.) The plaintiffs quote Part A.V.6.a: “No infectious or toxic substances under investigation

at Fort Detrick will be allowed to leave the Detrick drainage system without sterilization,” but

this provision does not define what substances are “infectious or toxic,” nor does it prescribe

how Fort Detrick was to sterilize the substances. (Id. at Part A.V.6.a.) The next paragraph of that

subsection is equally nonspecific by assigning responsibility for sterilization without providing



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any additional information about sterilization methods, merely requiring that sterility tests be

made “at frequent intervals.” (Id. at Part A.V.6.b.) The provisions relating to the sterilization and

disinfection of toxic materials further demonstrate that the Army retained discretion regarding

waste management: Part A.IV.9.a says that processing equipment will be “sterilized by a method

approved or concurred in by IH & Safety,” and Part A.V.1.h states that building surfaces in

which infectious substances are handled “will be disinfected with a suitable germicide as often

as deemed necessary by the supervisors,” with “[c]hoice of disinfecting material . . . left to the

discretion of the Unit Supervisor.” (Id. at Part A. IV.9.a, Part A.V.1.h (emphasis added)).

Likewise, Part A.VIII.3 calls for annual building inspections, but it does not provide specific

standards and leaves the scheduling of the inspections to the discretion of the Post Inspector. (Id.

at Part A.VIII.3.)

       Even if the regulations were mandatory and specific, the plaintiffs have not alleged how

the provisions they list were violated. In fact, by burying waste in Area B, the very activity the

plaintiffs challenge in this action, the Army complied with FD Reg. 385-1. For example, Part

B.X.2.c says that pesticides, herbicides, and rodenticides are to “be disposed of by

Decontamination Branch by burial at the [Area B] Grid Area.” (Id. at Part B.X.2.c.) Furthermore,

Part A.V.5.i states that “[a]s a general policy matter, as much as possible of potentially

contaminated materials will be retained within the confines of Fort Detrick” and includes burial

at “the Area B burial pit” as one option to achieve that policy. (Id. at Part A.V.5.i.) “[I]f a

regulation mandates particular conduct, and the employee obeys the direction, the Government

will be protected because the action will be deemed in furtherance of the policies which led to

the promulgation of the regulation.” Gaubert, 499 U.S. at 324.



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         Finally, the plaintiffs have not shown how any violation of FD Reg. 385-1 is connected to

the conduct they are challenging or how it caused their injuries. See Loughlin v. United States,

286 F. Supp. 2d 1, 18 (D.D.C. 2003) (“To cancel discretionary function immunity, a directive

must not only be specific and mandatory, it must also be relevant to the claims underlying the

suit.”) (emphasis in original). For instance, although the plaintiffs cite Part A.VI.4.j, which

provides that a supervisor is responsible for ensuring that “no person works alone on an

extremely hazardous operation,” the plaintiffs do not claim that the Army ever allowed only one

person to work on an extremely hazardous operation or that the Army’s failure to comply with

this regulation harmed them. (Fed. Reg. 385-1 at Part A.VI.4.j.) Similarly, the provision

requiring the Director of Medical Sciences Laboratory to process requests for use of vaccines

off-post is not relevant because the plaintiffs have not alleged that their claims are related to the

unauthorized off-post use of vaccines. (Id. at Part A.IV.5.b.) Because the plaintiffs have failed to

cite any relevant directive prescribing specific, mandatory waste management or remediation

methods, they have not shown that the United States lacked discretion to decide how to dispose

of waste and remediate contamination at Fort Detrick.1

         II.      Susceptibility to Policy Analysis

         The plaintiffs have not shown that the Army’s waste disposal and remediation decisions

were not susceptible to policy analysis. The Army’s waste disposal decisions at Fort Detrick

involved weighing many factors, including national security priorities, environmental impact,

and health concerns. (See Curtis Decl. ¶ 13 (use of TCE and PCE were “important part[s] of Fort


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 The congressional hearings testimony the plaintiffs cite, which includes a discussion about shellfish toxin, does not
apply to Fort Detrick. Fort Detrick is never mentioned in the plaintiffs’ exhibit. (See Hearings Testimony, Pls.’
Opp’n Ex. 4, ECF No. 24-4.) Moreover, the reference to shellfish toxin is not relevant here, where the plaintiffs have
not alleged that any plaintiffs were poisoned by shellfish toxin.

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Detrick’s biological warfare mission”); see also Statement on Chemical and Biological Defense

Policies and Programs, Mot. Dismiss Ex. 16, ECF No. 20-19 (renouncing the use of lethal

biological agents and weapons because of the risk of “produc[ing] global epidemics and

impair[ing] the health of future generations” and directing the DoD to “make recommendations

as to the disposal of existing stocks of bacteriological weapons”)). “The nature of the military’s

function requires that it be free to weigh environmental policies against security and military

concerns.” OSI, Inc. v. United States, 285 F.3d 947, 953 (11th Cir. 2002).

       The Army’s remediation decisions also were susceptible to policy analysis. In its Public

Health Assessment of Fort Detrick Area B Groundwater, the Agency for Toxic Substances and

Disease Registry concluded that PCE and TCE were the only “contaminant[s] of public health

concern.” (Public Health Assessment 49.) The Army’s remediation efforts, in which it focused

on these two substances, were grounded in policy considerations, as the Army balanced

environmental impact, health, public safety, regulatory oversight, and resource constraints. See,

e.g., Daigle v. Shell Oil Co., 972 F.2d 1527, 1541 (10th Cir. 1992) (finding “little doubt” that the

Army’s toxic waste cleanup efforts at Rocky Mountain Arsenal “involved policy choices of the

most basic kind” because the Army faced “a monumental task” in cleanup and remediation of

hazardous waste, which required determining how best to “contain[ ] the spread of contamination

. . . while still protecting public health”). The Army’s waste disposal and remediation decisions

that the plaintiffs challenge are the kinds of policy choices “the discretionary function exception

was designed to shield.” See Berkovitz, 486 U.S. at 536. Accordingly, the plaintiffs have not

carried their burden of showing that the Army’s waste management decisions were of the kind

not susceptible to policy analysis. The DFE applies, and the court does not have subject matter



                                                12
jurisdiction over this case.


                                        CONCLUSION

        For the reasons stated above, the court will grant the government’s motion to dismiss.

        A separate order follows.




August 11, 2016                                      ____________/S/_____________
Date                                                 Catherine C. Blake
                                                     United States District Judge




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